456 F.2d 685
    William CALDWELL, Appellee,v.William H. KAISER, Jr., Appellant.William CALDWELL, Appellant,v.William H. KAISER, Jr., Appellee.
    Nos. 71-1296, 71-1327.
    United States Court of Appeals,Eighth Circuit.
    Submitted March 13, 1972.Decided April 12, 1972.
    
      Steven Z. Lange, Katz, Taube, Lange &amp; Frommelt, and A. Larry Katz, Minneapolis, Minn., for appellant Kaiser.
      Samuel L. Hanson, Briggs &amp; Morgan, St. Paul, Minn., for appellee Caldwell.
      Before GIBSON, HEANEY and ROSS, Circuit Judges.
      PER CURIAM.
    
    
      1
      William H. Kaiser, Jr., appeals from a judgment against him for common law fraud, conversion, breach of trust, and violation of Section 10(b) of the Securities Exchange Act of 1934 (15 U.S.C. Sec. 78j), and Rule 10b-5 (17 C.F.R. Sec. 240.10b-5).  The judgment against Kaiser was (1) for the sum of $50,400, with interest thereon at 6 percent per annum from November 15, 1968, (2) for 13,900 shares of the common stock of Special Transportation Services, Inc., and (3) for costs and disbursements.  On appeal, Kaiser contends that the District Court erred by incorrectly calculating damages, and by denying his motions for amended findings and for a new trial.  Caldwell cross appeals contending that the trial court erred in awarding him 13,900 shares of stock rather than the market value of the shares at the time of conversion.
    
    
      2
      We are convinced that the record adequately supports the trial court's findings of fact.  The trial court also properly denied Kaiser's motions and correctly computed damages.
    
    
      3
      Judgment affirmed.
    
    